KAREN L. LOEFFLER
United States Attorney

AUDREY J. RENSCHEN
Assistant U.S. Attorney
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Tel: (907) 271-5071
Fax: (907) 271-1500
E-mail: audrey.renschen@usdoj.gov
AK # 9306050

Attorneys for Plaintiff

                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,             ) Case No. 3:09-cr-0129-JWS
                                       )
                     Plaintiff,        ) GOVERNMENT’S SENTENCING
                                       ) MEMORANDUM
       vs.                             )
                                       )
 ANDREW WILLIAM YOUNG,                 )
                                       )
                     Defendant.        )
                                       )

      The United States by Assistant United States Attorney Audrey J. Renschen,

submits this sentencing memorandum in anticipation of the sentencing hearing

scheduled on Wednesday, July 20, 2011, at 9:00 a.m.

I.    The Government’s Recommendation

      The United States recommends a sentence of 300 months (25 years)


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imprisonment, supervised release for life, and the special conditions of

supervision recommended by the Presentence Report writer, Pamela Shaw.

II.    The Plea Agreement

       Young agreed to plead guilty to the Information Replacing Indictment filed

in this case: Count 1, Sexual Exploitation of a Child – Production and Attempted

Production of Child Pornography in violation of 18 U.S.C. §§ 2251(a) and (e), and

Count 2, Receipt and Attempted Receipt of Child Pornography in violation of 18 U.S.C.

§ 2252(a)(2) and (b)(1). In exchange for his pleas and appellate waiver, the United

States agreed to dismiss the remaining charges in the Indictment pursuant to Fed.

R. Crim P. 11(c)(1)(a), and conditionally agreed not to file any additional charges

based on the current investigation, as long as no evidence surfaced that the

defendant had any sexual contact with children. Further, pursuant to the plea

agreement and Fed. R. Crim P. 11(c)(1)(c), the parties are free to make sentencing

recommendations within a sentencing range of 15 to 25 years, and the United

States will recommend an adjustment for acceptance of responsibility.

III.   The Sentencing Guidelines Assess Young’s Conduct As Extremely
       Serious

       The undisputed Presentence Report calculates a final offense level of 38 for

two non-grouping offenses that included upward adjustments for:

•      Young’s sexual exploitation involving a minor who had not attained 12

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      years of age,

•     Young’s sexual exploitation of his adoptive child during his custodial role as

      a pending adoptive parent,

•     Young’s knowledge that the adoptive child whom he sexually exploited was

      an unusually vulnerable victim who had been previously sexually, physically

      and mentally abused,

C     Young’s receipt of child pornography images involving children under 12

      years of age,

C     Young’s receipt of material depicting bestiality with children and bondage

      with sexual abuse of children, that involved material portraying sadistic or

      masochistic conduct, or depictions of violence,

C     Young’s use of a computer, and

C     Young’s receipt of over 60,325 sexually explicit images of children.

(Presentence Report pp. 18-21)

      Young’s Sentencing Guidelines range is 235-293 months, based on an

offense level 38, and criminal history I, with a potential upward departure

warranted under U.S.S.G. § 2G2.2 for multiple videos in excess of five minutes,

and an assessment that Young poses a significant risk to minor children.

(Presentence Report pp. 32-33)



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IV.   The Sentencing Factors Under 18 U.S.C. § 3553(a) Provide Additional
      Support for a Finding That Young’s Conduct Was Unusually Serious,
      and the Government’s Recommendation of 25 Years Imprisonment Is
      an Appropriate One

      While the Court must consider both aggravating and mitigating sentencing

factors at sentencing, the government’s focus here will be only on aggravating

3553(a) factors, with the understanding that Young’s memorandum will focus only

on mitigating 3553(a) factors. At sentencing, the government will offer its analysis

of all the aggravating and mitigating arguments presented.

             A.     The Nature and Circumstances of the Offenses and the
                    History and Characteristics of the Defendant

      As shown below, there are significant additional aggravating sentencing

factors here that are not considered in the Sentencing Guidelines calculation. The

Presentence Report and discovery materials document Young’s child sexual

exploitation that extends back more than 25 years, but that is not reflected in the

final Sentencing Guidelines range.

      The evidence shows Young did not engage in an isolated impulsive

indiscretion in committing his crime. Young was deeply involved in the world of

child sexual exploitation since 1983-1984, and that his life’s work centered on jobs

that placed him in everyday contact with vulnerable children whom he treated for

psychological issues or taught as an educator. (Presentence Report p. 6, ¶ 27, and



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pp. 26-28, ¶¶ 138-149) Young’s counts of conviction reveal only a microcosm of

his sexual interest in children, and a chosen lifestyle of child sexual exploitation.

                    1.     Charged Offense Conduct Centers on Young’s
                           Sexual Exploitation of Children, Including His
                           Adopted Child

      Young sexually exploited his adopted son, whom he knew before adoption

was a vulnerable victim, by taking lascivious photographs of the ten year old boy’s

genitals, by attempting to take additional photos, and by maintaining those

photographs for more than seven years, through transfers from Texas to Iraq,

Florida, Virginia and Wisconsin, before settling in Alaska. (Presentence Report

p.22, ¶ 121)

      Although there is no evidence of Young committing contact offenses

thereafter, he continued to sexually exploit children by downloading and collecting

roughly 4,300 individual images, and 747 videos – the equivalent of 60,325 images

of child pornography. (Presentence Report p. 19, ¶ 98) That continued conduct

again involved children under 12 years of age, and included some graphically

sadistic, masochistic, and violent depictions. (Presentence Report p. 18, ¶¶ 94-95)

                    2.     Young’s Personal History Provides Additional
                           Evidence Of His Sexual Interest In Children, and His
                           Exploitation of Them

      Although Young’s prior “camp” history was not recognized under the



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Sentencing Guidelines, that history of sexually exploiting children emphasizes

Young’s continued and long-term patterns of dangerous behavior. Printed

photographs bearing Young’s handwriting on the reverse side show that while he

was in his early twenties he was already victimizing children under ten by

collecting sexually exploitive, lascivious photographs of them. (Presentence Report

pp. 5-6, ¶ 27) The further fact that he maintained those exploitive images almost

thirty years longer, shows the depth and darkness of a child predator. Young has

repeatedly put his sexual self-gratification before the protection of children, despite

the “helping” profession he appeared to be dedicated to. Closer examination of his

career choices suggest they were intended to sexually satisfy him rather than to

serve children’s needs. Young shows no apparent insight or concern for the

obvious harms he has repeatedly caused the children being sexually exploited in

his child pornography pictures and videos.

      Such a history of patent disregard for harms against children demonstrates

what a real danger Young is to the community, and why an extremely lengthy

sentence and supervision are required.

             B.     The Need for the Sentence Imposed to Reflect the
                    Seriousness of the Offense, to Promote Respect for the Law,
                    and to Provide Just Punishment for the Offense

      To an adult, Young’s sexual exploitation of children is startlingly obvious



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manipulation. However, his adopted son was not so quick to spot the manipulation.

When first being considered by Young for adoption, C.Y. was predictably eager

for the attention, praise and trust of a complimentary adult. He recognized an

uncomfortable sexual touch, and directly confronted and threatened Young.

(Presentence Report p. 12, ¶ 58) Yet Young’s subsequent sexual interest and

attempts to obtain lascivious exhibitions of C.Y.’s genitals were not transparent to

the then-ten year old: “C.Y. described the pictures as ‘just me goofing off’ . . . it

did not occur to him that the pictures may be inappropriate.” (Presentence Report

p. 14, ¶ 70) It was not until C.Y. was 17 years old that he recognized the

manipulation: “he was ‘disgusting, wrong, and messed up’ for adopting C.Y.,

because Young liked ‘that kind of stuff.’” (Presentence Report p. 13, ¶ 65)

      Young’s use of his adopted son and his career choices allowed him to

engage in “relationships” with children and to present himself in a way that hid the

harsh realities of his self gratification. Young’s deceptive methods offered him

privacy and secrecy, and made it easy for Young to sexually fantasize about and

exploit children. (Presentence Report pp. 10-11, ¶¶ 53-54) Those actions allowed

Young to steal the childhood and the innocence of the children he targeted. (See,

e.g., victim impact statements in Presentence Report at pp. 37-57.)

      To recognize that serious harm, Young’s punishment must be



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correspondingly as serious. His sentence must send a message that adults who take

advantage of children’s naivete, their vulnerability, or their trust, will be duly

punished. As an adult, Young had the ability to make choices that his vulnerable

child victims did not. As an adult, Young and others similarly situated must be held

responsible for those dangerous and harmful choices.

             C.     The Need for the Sentence Imposed to Afford Adequate
                    Deterrence to Criminal Conduct

      Young has stepped up and admitted his guilt to the charged crime. That

admission and willingness to accept punishment is an important first step in

specific deterrence. However, the general deterrence of other offenders who

sexually exploit children must also be considered. Young’s conduct provided a

demand in the market for the victimization of prepubescent children used to

produce child pornography images. As Congress has noted, such self-gratification

at the expense of children is the kind of conduct that must be seriously punished to

generally deter others in the community from similar conduct.

      Notification that this Court takes Young’s conduct seriously, and that it will

not tolerate such harms to children will ring through a small community like

Alaska where Internet usage is the highest per capita in the nation. More

importantly, serious punishment in this case will send an unmistakable message

that adult exploiters like Young can expect to be held accountable for their sexual

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misconduct with children.

             D.     The Need for the Sentence Imposed to Protect the Public
                    from Further Crimes of the Defendant

      While Young has no prior convictions, his long term conduct presents a

pattern of obviously unexamined and self-absorbed conduct. Young has

demonstrated the serious danger he poses to children and to others in the

community. He has demonstrated that dangerousness not just sporadically, but

consistently over his adult life. He has not demonstrated any ability or inclination

to change. His adult life has been all about him, regardless of how others are

impacted. A serious sentence will appropriately isolate and punish Young’s

conduct, and protect the public from his selfish and very dangerous conduct.

             E.     The Need for the Sentence Imposed to Provide the
                    Defendant with Needed Educational or Vocational
                    Training, Medical Care, or Other Correctional Treatment
                    in the Most Effective Manner

      Considering Young’s education, training and experience, it is difficult to

conceive that he can be open to rehabilitation when he has repeatedly turned his

back to the harm he has caused children. Nonetheless, the Presentence Report

writer has prepared an outline of recommended conditions of supervised release

that will assist Young on his release from prison. However, because of Young’s

age and prior conduct as set forth above, the United States recommends that those



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conditions and accompanying treatment options not supplant punishment for the

serious nature of Young’s conduct. A long term of isolation is necessary to protect

the public, and Young still requires close and lengthy supervision upon his release.

             F.     The Kind of Sentences Available and Their Sentencing
                    Ranges

      These factors have been ably described in the Presentence Report at pp. 29-

33. Because of the serious nature of his crimes of producing child pornography,

Young faces a mandatory minimum sentence of fifteen years, and for receiving

child pornography, a mandatory minimum of five years imprisonment. By virtue of

the plea agreement, Young has escaped additional charges for production and

possession of child pornography, and faces a sentence between 15 and 25 years.

             G.     Pertinent Policy Statements of United States Sentencing
                    Commission

      The U.S.S.G. policy statements recognize that Congress sought to restrict

the ability of courts to grant downward departures in cases of sexual exploitation of

children. The instant offenses involve violations of 18 U.S.C. § 2251 and 2252,

under Chapter 110 of the United States Code, which are covered offenses under §

401(d) of the PROTECT Act, Pub.L. 108-21, 117 Stat. 650 (April 30, 2003). The

Protect Act amended 18 U.S.C. §§ 3553(b)(2) and 3742(e) by limiting district

judges’ options in downward departures and requiring appellate courts to review



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downward departures de novo. The Commentary to U.S.S.G. § 5K2.0 explains that

the standard for a downward departure in child crimes and sexual offenses differs

from the standard for other departures under the policy statement by including a

requirement . . . “that any mitigating circumstances that form the basis for such a

downward departure be affirmatively and specifically identified as a ground for

downward departure.” Commentary to § 5K2.0, Scope of Policy Statement 4(B)(I).

      However, following United States v. Booker, 543 U.S. 220 (2005), the

Sentencing Guidelines are, of course, only advisory. The Ninth Circuit has

declined to adopt an appellate “presumption” of reasonableness for sentences

imposed within the Sentencing Guidelines range, but has made clear that a

correctly calculated Guidelines sentence will normally not be found unreasonable

on appeal. United States v. Carty, 520 F.3d 984, 988 (9th Circuit, 2008).

      Neither Young’s conduct nor his circumstances mitigate his conduct when

compared to that of the multitude of other sex offenders considered by the

Sentencing Commission in promulgating the Guidelines. Lack of criminal history,

middle age, consistent professional employment and the fact that Young exploited

children from the comfort of his own home, are not sufficient reasons to justify a

downward departure from the 235-293 months range of imprisonment. These are

heartland factors under 18 U.S.C. §§ 2251 and 2252 child exploitation offenses,



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that cannot be mitigated. Furthermore, Young’s plea agreement, if accepted by the

Court, requires a sentence between 15 and 25 years imprisonment.

             H.     The Need to Avoid Unwarranted Sentence Disparities
                    Among Defendants with Similar Records Who Have Been
                    Found Guilty of Similar Conduct

      In undersigned counsel’s experience, no non-contact offender in the District

of Alaska has been convicted of the production and receipt of child pornography

that resulted in an offense level 38, or Sentencing Guidelines range of 235-293

months. Young is the worst offender in that regard in this district.

             I.     The Need to Provide Restitution to Any Victims of the
                    Offense

      In the plea agreement, the parties agreed that restitution is mandatory in this

case, and will be determined by the probation officer on behalf of the court,

pursuant to 18 U.S.C. § 2259. Plea Agreement, p. 13.

      C.Y., a child victim who is now an adult living Outside since he fled Alaska

upon discovery of Young’s child pornography, has not yet submitted a victim

impact statement, nor restitution been identified. (Presentence Report p. 15, ¶ 78)

The government has been unable to contact C.Y., despite concerted efforts, and

will continue to try and contact him before the sentencing date. If unsuccessful, the

amount of restitution will not be ascertainable, and the government will request

additional time under 18 U.S.C. § 3664(d)(5): “If the victim's losses are not

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ascertainable by the date that is 10 days prior to sentencing, the attorney for the

Government or the probation officer shall so inform the court, and the court shall

set a date for the final determination of the victim's losses, not to exceed 90 days

after sentencing.”

      Another identified victim, “Vicky”, seeks restitution for future counseling

expenses, educational and vocational needs, lost earnings, out of pocket expenses

for a psychological evaluation, supporting records, and travel, attorney travel costs,

and for attorney fees. (Presentence Report pp. 15-16, ¶ 79) The government is not

authorized to modify that request for $1,072.263.83, but urges that if the Court is

unwilling to grant the full amount, to at least impose a reasonable amount,

comparable to the $3,000 approved by other district courts in the Ninth Circuit:

United States v. Baxter; No. 09-30364, 2010 WL 3452537, at *1 (9th Cir. Sept. 1,

2010), United States v. Monk, 2009 WL 2567831 (E.D. Cal. Aug. 18, 2009)

(awarding $3,000 in restitution to victims Amy and Vicky); United States v. Zane,

2009 WL 2567832 (E.D. Cal. Aug. 18, 2009) (awarding $3,000 in restitution to

victims Amy and Vicky).

V.   Guideline and Non-Guideline Considerations Blend for Purposes of the
Government’s Sentencing Recommendation

      The United States recommends Young be sentenced to the top of the agreed

upon plea agreement sentencing range, and seven months higher than the

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Sentencing Guidelines range, to a term of 300 months, or 25 years imprisonment.

That sentence takes into account Young’s acceptance and guilty plea, and also

measures the severity of his conduct in exploiting and manipulating children for

most of his adult life, and for his self gratification without regard for the lifelong

harms he caused the victims depicted in his child pornography. The Sentencing

Guidelines and the 3553(a) factors in this case both point to the need for serious

punishment to respond to Young’s’s serious crimes.

      The true nature of the images involved, the true nature of the harm caused to

the victims, the true dynamic of the crimes, and the true threat of this defendant

requires nothing less. Young’s persistent exploitation of children epitomizes the

need for safeguarding children noted by the Supreme Court in New York v. Ferber,

458 U.S. 747, 756-57, 58 (1982):

      “It is evident beyond the need for elaboration that a State’s interest in

      safeguarding the physical and psychological well-being of a minor is

      compelling ... [and that] the use of children as subjects of

      pornographic materials is harmful to the physiological, emotional, and

      mental health of the child” (internal quotation and citation omitted).

VI.   Conclusion

      The government respectfully requests that the Court sentence Young to a



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term of 300 months imprisonment, and lifetime supervised release. As shown

above, such a sentence is legally consistent with both the Sentencing Guidelines

and the 18 U.S.C. § 3553(a) factors.

       RESPECTFULLY SUBMITTED this 13th day of July, 2011, in Anchorage,

Alaska.

                                              KAREN L. LOEFFLER
                                              United States Attorney

                                              s/ Audrey J. Renschen
                                              AUDREY J. RENSCHEN
                                              United States of America

CERTIFICATE OF SERVICE
I hereby certify that on July 13, 2011
a copy of the foregoing was served
electronically on:

Steve Wells
s/ Audrey J. Renschen




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